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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
 TERESA MORALES,
                                                            Civil Action No. _____________
                  Plaintiff,

                  v.                                        COMPLAINT

 BAGEL & DELI CREATION, LLC, DN
 BAGELS LLC, d/b/a BAGEL EXPRESS,                           JURY TRIAL DEMAND
 NEIL PATEL, and RICKY PATEL,

                  Defendants.


          Plaintiff, Teresa Morales (“Morales” or “Plaintiff”), by and through her counsel, Trief &

Olk, alleges as follows:

                                             PARTIES

          1.     Plaintiff is an adult individual and New York State resident who was employed by

Defendants from September 2016 through July 2021.

          2.     Defendant Bagel & Deli Creation, LLC (“Bagel Creation”) is a corporation

organized under the laws of the State of New York, with its principal place of business at 669

Route 109, West Babylon, New York 11704.

          3.     Defendant DN Bagels LLC, d/b/a Bagel Express (“Bagel Express”) is a

corporation organized under the laws of the State of New York, with its principal place of

business at 217 N. Main Street, Sayville, New York BA, 11782.

          4.     Upon information and belief, Defendant Neil Patel was an owner and/or manager

of Bagel Creation and Bagel Express (collectively, the “Bagel Stores”), at all relevant times

herein.
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        5.      Upon information and belief, Defendant Ricky Patel was an owner and/or

manager of the Bagel Stores at all relevant times herein. (The Bagel Stores, Neil Patel, and Ricky

Patel are referred to collectively as “Defendants.”)

                                  VENUE AND JURISDICTION

        6.      This Court has subject matter jurisdiction over Plaintiff’s FLSA claims pursuant

to 29 U.S.C. § 216(b) and 28 U.S.C. § 1331.

        7.      This Court has supplemental jurisdiction over Plaintiff’s New York Labor Law

claims pursuant to 28 U.S.C. § 1367.

        8.      This Court has personal jurisdiction over Defendants because the Bagel Stores are

New York-based corporations, which operate in the State of New York.

        9.      Venue is proper in this judicial district because, pursuant to 28 U.S.C. § 1391, the

Bagel Stores are located in this judicial district as entities subject to the court’s personal

jurisdiction with respect to the civil action in question and because the events or omissions

giving rise to the claim occurred in this judicial district.

                         COVERAGE UNDER THE FLSA AND NYLL

        10.     Throughout Plaintiff’s employment, Defendants have continuously been an

employer of multiple employees engaged in interstate commerce within the meaning of the

FLSA, 29 U.S.C. §§ 206(a) and 207(a).

        11.     Throughout Plaintiff’s employment, Defendants were an enterprise covered by the

FLSA and as defined by 29 U.S.C. §§ 203(r) and 203(s).

        12.     Upon information and belief, throughout Plaintiff’s employment, Defendants had

annual gross volume of sales made or business done of over $500,000 for each year in the

relevant period.



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       13.      Upon information and belief, throughout Plaintiff’s employment, Defendants had

more than 10 employees including Plaintiff engaged in commerce or in the production of goods

for commerce, or had employees handling, selling, or otherwise working on goods or materials

that have been moved in or produced for commerce by any person.

       14.      Throughout Plaintiff’s employment, Defendants employed Plaintiff within the

meaning of the FLSA and the NYLL.

       15.      Throughout Plaintiff’s employment, she was an “employee” of Defendants as that

term is used in 29 U.S.C. § 203(e)(1) and in the applicable regulations implementing the NYLL,

12 NYCRR § 146-3.2(a).

       16.      Throughout Plaintiff’s employment, Defendants maintained control, oversight,

and direction over the operation of the operations at the Bagel Stores including oversight of

hiring and firing practices; setting hours and pay rates; oversight of the payroll; and other

employment practices therein.

       17.      Upon information and belief, Defendants Neil Patel and Ricky Patel have had

oversight of the day-to-day operations of the Bagel Stores. They were regularly at the stores to

supervise and inspect the work done by Plaintiff, and had the power to hire and fire employees

such as Plaintiff, control the conditions of employment, and determine the rate and method of

compensation paid to Plaintiff.

       18.      Defendants Neil Patel and Ricky Patel are employers pursuant to the FLSA,

29 U.S.C. § 203(d), and the applicable implementing regulations, and NYLL § 2(6) and

applicable implementing regulations, and are jointly and several liable with Defendants the

Bagel Stores.




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                            PLAINTIFF’S EMPLOYMENT HISTORY

       19.     Plaintiff worked at the Bagel Express from the middle of September 2016 until

she transferred to Bagel Creation in May 2020. She was required to prepare food and clean the

restaurant.

       20.     At Bagel Express, Plaintiff worked seven to eight hours daily, six days each week,

totaling approximately 42 to 48 hours per week.

       21.     Initially, Plaintiff was paid approximately $370 per week, paid partly in cash and

partly by check.

       22.     In 2020, Plaintiff’s pay rate changed from the weekly rate to $12 per hour, which

she continued to receive partly in cash and partly by check.

       23.     During the period she worked for Bagel Express, Plaintiff received no overtime

premium when she worked more than 40 hours in a week, despite regularly working 42 to 48

hours per week.

       24.     In or about May 2020, Defendants moved Plaintiff’s employment to Bagel

Creation.

       25.     Plaintiff was employed at Bagel Creation from May 2020 until July 2021,

performing similar food preparation and cleaning tasks that she was assigned at Bagel Express.

       26.     At Bagel Creation, Plaintiff was required to work seven days a week, totaling

approximately 60 hours per week.

       27.     During her employment at Bagel Creation, Plaintiff was paid $14 per hour, which

she received all in cash.

       28.     During her employment at Bagel Creation, Plaintiff was not paid a premium for

overtime hours.



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    DEFENDANTS’ VIOLATIONS OF THE FLSA AND NEW YORK LABOR LAW

               Minimum Wage and Overtime Violations

       29.     Throughout her employment by Defendants, Plaintiff was a covered employee

under the FLSA and NYLL, who was not exempt from the requirements thereunder, including

minimum wage and overtime requirements.

       30.     Throughout her employment by Defendants, Plaintiff was not paid the wages to

which she was entitled.

       31.     Throughout her employment by Defendants, Defendants were aware of the hours

Plaintiff worked and rates of pay but willfully failed to pay the compensation Plaintiff was owed

pursuant to the FLSA and NYLL.

       32.     From January 1, 2017, through December 31, 2018, and from January 2020

through April 2020, Plaintiff did not receive the minimum wage as required by NYLL.

       33.     Throughout her employment by Defendants, Plaintiff was not paid an overtime

premium for hours worked in excess of 40 hours per week, despite regularly working more than

40 hours per week.

       Wage Notice and Wage Statement Violations

       34.     At the commencement of Plaintiff’s employment by Defendants, Defendants

failed to provide Plaintiff with statements of the scheduled hours and rates of pay, as required by

New York Labor Law.

       35.     Throughout Plaintiff’s employment, Defendants failed to furnish Plaintiff (in

Spanish, her primary language), with accurate, written wage statements listing, inter alia, rate or

rates of pay and basis thereof; gross wages; net wages; regular hourly rate; overtime rate; number




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of regular hours worked; and the number of overtime hours worked, in violation of New York

Labor Law.

                                     CAUSES OF ACTION

                                      COUNT I
                     FAILURE TO PAY OVERTIME IN VIOLATION
                       OF THE FAIR LABOR STANDARDS ACT
                               (29 U.S.C. § 201, et seq.)

       36.     Plaintiff realleges and incorporates paragraphs 1 - 35 as if fully set forth herein.

       37.     The overtime wage provisions set forth in the FLSA, 29 U.S.C. §§ 201, et seq.,

and the supporting federal regulations, apply to Defendants and protect Plaintiff.

       38.     Plaintiff worked in excess of 40 hours during some or all work weeks in the

relevant period.

       39.     As a non-exempt employee, Plaintiff was entitled to be paid an overtime premium

at one-and-one-half times her regular hourly rate for all hours worked in excess of 40 hours per

workweek, as set forth under the FLSA.

       40.     Defendants failed to pay Plaintiff one-and-one-half times minimum wage for all

work in excess of 40 hours per workweek.

       41.     The conduct of Defendants constitutes a willful violation of the FLSA within the

meaning of 29 U.S.C. § 255(a).

       42.     Because the conduct of Defendants was willful, a three-year statute of limitations

applies, pursuant to 20 U.S.C. §§ 201, et seq.

       43.     Due to these FLSA violations, Plaintiff was damaged and is entitled to recover,

from Defendants, compensation for unpaid wages; an additional equal amount as liquidated

damages; and reasonable attorneys’ fees, costs, and expenses of this action, pursuant to 29

U.S.C. § 216(b).

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                                      COUNT II
                   FAILURE TO PAY OVERTIME IN VIOLATION OF NYLL
                     (NYLL §§ 198 and 650, et seq., and 12 NYCRR § 146-1.4)

       44.     Plaintiff realleges and incorporates paragraphs 1-35 as if fully set forth herein.

       45.     As a non-exempt employee, Plaintiff was entitled to be paid an overtime premium

at one-and-one-half times her regular hourly rate for all hours worked in excess of 40 hours per

workweek, as set forth under NYLL § 652 and 12 NYCRR § 146-1.4.

       46.     Plaintiff worked in excess of 40 hours during some or all work weeks in the

relevant period.

       47.     Throughout Plaintiff’s employment with Defendants, Defendants willfully failed

to pay Plaintiff at the overtime rate for hours worked in excess of 40 hours per workweek as

required by NYLL and 12 NYCRR § 146-1.4.

       48.     Due to Defendants’ NYLL violations, Plaintiff was damaged and is entitled to

recover from Defendants compensation for unpaid wages; an additional equal amount as

liquidated damages; and reasonable attorneys’ fees, costs, expenses of this action, and pre- and

post-judgment interest, pursuant to, pursuant to NYLL § 198.

                                     COUNT III
             FAILURE TO PAY MINIMUM WAGE IN VIOLATION OF NYLL
                 (NYLL §§ 191 and 650 et seq.; and 12 NYCRR § 146-1.2)

       49.     Plaintiff realleges and incorporates paragraphs 1-35 as if fully set forth herein.

       50.     From January 1, 2017, through December 31, 2018, Plaintiff was paid at a weekly

rate that resulted in an effective hourly rate less than the applicable minimum wage under NYLL,

as calculated pursuant to 12 NYCRR § 146-3.5(b).

       51.     From January 1, 2020, through April 30, 2020, Plaintiff was paid an hourly rate

less than the applicable minimum wage under NYLL.



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       52.     For the periods referenced above, see ¶¶ 50-51, Defendants willfully failed to pay

Plaintiff at least minimum wage for all hours worked as required by NYLL §§ 191 and 652, and

12 NYCRR § 146-1.2(a)(1)(ii).

       53.     Due to Defendants’ NYLL violations, Plaintiff was damaged and is entitled to

recover from Defendants compensation for unpaid wages; an additional equal amount as

liquidated damages; and reasonable attorneys’ fees, costs, expenses of this action, and pre- and

post-judgment interest, pursuant to NYLL § 198.

                                 COUNT IV
              FAILURE TO FURNISH WAGE NOTICE IN VIOLATION OF
                   NEW YORK WAGE THEFT PREVENTION ACT
                             (NYLL §§ 195(1), 198)

       54.     Plaintiff realleges and incorporates paragraphs 1-35 as if fully set forth herein.

       55.     At the commencement of Plaintiff’s employment, Defendants failed to provide

Plaintiff with a written notice (in Spanish, Plaintiff’s primary language), of the applicable rate of

pay, regular pay day, and such other information as required by the Wage Theft Prevention Act,

NYLL § 195(1).

       56.     Due to Defendants’ NYLL violations, Plaintiff was damaged and is entitled to

recover from Defendants damage as provided by NYLL § 198 for these wage statement

violations, together with attorneys’ fees and costs.

                                       COUNT V
           FAILURE TO FURNISH WAGE STATEMENTS IN VIOLATION OF
                  NEW YORK WAGE THEFT PREVENTION ACT
             (NYLL §§ 195(3), 198, and 650 et seq.; and 12 NYCRR § 146-2.3)

       57.     Plaintiff realleges and incorporates paragraphs 1- 35 as if fully set forth herein.

       58.     Throughout Plaintiff’s employment, Defendants failed to furnish Plaintiff with

accurate, written wage statements listing, inter alia, gross wages; net wages; overtime rate;



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number of regular hours worked; and the number of overtime hours worked, as required by the

Wage Theft Prevention Act, NYLL § 195(3).

        59.     Due to Defendants’ NYLL violations, Plaintiff was damaged and is entitled to

recover from Defendants damage as provided by NYLL § 198 for these wage statement

violations, together with attorneys’ fees and costs.

                                     JURY TRIAL DEMAND

        Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff demands a trial

by jury on all issues so triable.

        WHEREFORE, Plaintiff respectfully requests that this Court grant the relief to which

she is entitled and:

                A.      On the first and second claims for relief, an award of overtime

                        compensation for unpaid wages to Plaintiff;

                B.      On the third claim for relief, an award of compensation for unpaid

                        minimum wages at the applicable New York minimum wage rate;

                C.      On the fourth and fifth claims for relief, an award of statutory damages as

                        applicable pursuant to New York Labor Law to Plaintiff;

                D.      An award of liquidated damages to Plaintiff;

                E.      An award of prejudgment and post-judgment interest to Plaintiff;

                F.      An award of costs and expenses of this action together with reasonable

                        attorneys’ fees, costs, and expenses of litigation to Plaintiff; and




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              G.    Such other and further relief as this Court deems just and proper.


  Dated: New York, New York
         September 23, 2022
                                                  TRIEF & OLK

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